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UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED
DOC #:
PAULA DISBERRY, DATE FILED:_,3] | J}d0+%
Plaintiff,
J Case No. 22-CV-5778 (CM) (OTW)
EMPLOYEE RELATIONS COMMITTEE OF Hon. Colleen McMahon

THE COLGATE-PALMOLIVE COMPANY,

ALIGHT SOLUTIONS, LLC, AND THE BANK Hon. Ona T. Wang, Magistrate Judge

OF NEW YORK MELLON CORPORATION,

Defendants.

 

 

{PREPOSEB} STIPULATION AND PROTECTIVE ORDER

WHEREAS, the Parties having agreed to the following terms of confidentiality, and the
Court having found that good cause exists for the issuance of an appropriately tailored
confidentiality order pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, it is hereby

ORDERED that the following restrictions and procedures shall apply to the information
and documents exchanged by the parties in connection with this action:

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Counsel for any party may designate any document or information, in whole or in
part, as confidential if counsel determines, in good faith, that such designation is
necessary to protect the interests of the client in information that is proprietary, a
trade secret or otherwise sensitive non-public information. Information and
documents designated by a party as confidential will be stamped
“CONFIDENTIAL.”

The Confidential Information disclosed will be held and used by the person
receiving such information solely for use in connection with the action.

In the event a party challenges another party’s designation of confidentiality,
counsel shall make a good faith effort to resolve the dispute, and in the absence of
a resolution, the challenging party may seek resolution by the Court. Nothing in
this Protective Order constitutes an admission by any party that Confidential
Information disclosed in this case is relevant or admissible. Each party reserves
the right to object to the use or admissibility of the Confidential Information.
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4. The parties should meet and confer if any production requires a designation of
“For Attorneys’ or Experts’ Eyes Only.” All other documents designated as
“CONFIDENTIAL” shall not be disclosed to any person, except:

a. Outside counsel retained specifically for this action, including any
paralegal, clerical, and other assistant employed by such counsel and
assigned to this matter;

b. In-house counsel to whom it is reasonably necessary to disclose the
information in connection with this action;

i. Current officers, directors, or employees of the parties to the extent that
such disclosure is reasonably necessary for the action;

d. Witnesses(es) who produced, authored, testified to, and/or is the subject of
such Confidential Information;

&. In connection with their depositions or trial testimony, witnesses and their
counsel to whom disclosure is reasonably necessary

th Consultants or experts assisting in the prosecution or defense of the
matter, to the extent deemed necessary by counsel; and

g. The Court (including the mediator, or other person having access to any
Confidential Information by virtue of his or her position with the Court),

a It is expressly contemplated, agreed and ordered that third parties who provide
discovery materials in this action may invoke all provisions of this Order as to
that discovery material, and that the parties to this Order will treat all discovery
material by such third parties as Confidential or “For Attorneys’ or Experts’ Eyes
Only” in accordance with the terms of this Order. Any party seeking or receiving
third party discovery material shall promptly disclose the existence of this Order
to the producing third party.

6. Before disclosing or displaying the Confidential Information to persons identified
in 4(e) and 4(f), counsel must:

a. Inform the person of the confidential nature of the information or
documents;

b. Inform the person that this Court has enjoined the use of the information
or documents by him/her for any purpose other than this litigation and has
enjoined the disclosure of the information or documents to any other
person; and

e, Require each such person to sign an agreement to be bound by this Order
in the form attached hereto.

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7. The disclosure of a document or information without designating it as
“confidential” shall not constitute a waiver of the right to designate such
document or information as Confidential Information. If so designated, the
document or information shall be treated as Confidential Information subject to
all the terms of this Stipulation and Order.

8. Any Personally Identifying Information (“PII”) (e.g., social security numbers,
financial account numbers, passwords, and information that may be used for
identity theft) exchanged in discovery shall be maintained by the receiving party
in a manner that is secure and confidential.

9. Pursuant to Federal Rule of Civil Procedure 502, inadvertent disclosure of
privileged communications shall not constitute a waiver of the privilege in this
matter provided the parties follow the steps set forth in Rule 502.

10. Notwithstanding the designation of information as “confidential” in discovery,
there is no presumption that such information shall be filed with the Court under
seal. The parties shall follow the Court’s procedures with respect to filing under
seal.

11. At the conclusion of litigation, Confidential Information and any copies thereof
shal! be promptly (and in no event later than 30 days after entry of final judgment
no longer subject to further appeal) returned to the producing party or certified as
destroyed, except that the parties’ counsel shall be permitted to retain their
working files on the condition that those files will remain protected.

12. Pursuant to, and as provided in, Section VI of this Court’s Individual Practices
and Procedures dated January 24, 2023, the parties understand that the Court’s “so
ordering” of this stipulation does not make the Court a party to the stipulation or
imply that the Court agrees that documents designated as “Confidential” by the
parties are in fact confidential. It has been this Court’s consistent experience that
confidentiality stipulations are abused by parties and that much material that is not
truly confidential is designated as such. The Court does not intend to be a party to
such practices. The Court operates under a presumption that the entire record
should be publicly available. The Court does not ordinarily file decisions under
seal or redact material from them. If the Court issues a decision in this case that
refers to “confidential” material under this stipulation, the decision will not be
published for ten days. The parties must, within that ten-day period, identify to the
Court any portion of the decision that one or more of them believe should be
redacted, provide the Court with the purportedly confidential material, and
explain why that material is truly confidential. The Court will then determine
whether the material is in fact genuinely deserving of confidential treatment. The
Court will only redact portions of a publicly available decision if it concludes that
the material discussed is in fact deserving of such treatment. The Court’s decision
in this regard is final. If this addendum is acceptable to the parties, the Court will
sign their proposed confidentiality stipulation, subject to the addendum. If this

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addendum is not acceptable, the Court will not sign the stipulation, and should
allegedly confidential material be produced, the parties will be referred to the
magistrate judge for a document by document review and decision on whether
that document should be subject to confidential treatment.

SO STIPULATED AND AGREED.

 

 

 

Dated: Dated:
SO ORDERED. Mb A / i
Colleen McMahon

United States District Judge

Dated: New York, New York

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Agreement

I have been informed by counsel that certain documents or information to be disclosed to
me in connection with the matter entitled have been designated as confidential. I have been

informed that any such documents or information labeled “CONFIDENTIAL” are confidential
by Order of the Court.

I hereby agree that I will not disclose any information contained in such documents to

any other person. I further agree not to use any such information for any purpose other than this
litigation.

DATED:

 

Signed in the presence of:

 

(Attorney)

 
